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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE


In re:                                                              Chapter 11

Meier's Wine Cellars Acquisition, LLC, et                           Case No. 24-11575 (____)
al.,1
                                                                    (Joint Administration Requested)
                   Debtors.
                                                                    Objection Deadline: To Be Determined
                                                                    Hr’g Date: To Be Determined



         OMNIBUS MOTION OF THE DEBTORS AND DEBTORS IN POSSESSION
           FOR AN ORDER (I) AUTHORIZING THE DEBTORS TO REJECT
           CERTAIN EXECUTORY CONTRACTS NUNC PRO TUNC TO THE
          PETITION DATE AND (II) GRANTING CERTAIN RELATED RELIEF


                    PARTIES RECEIVING THIS MOTION SHOULD LOCATE
                    THEIR NAMES AND CONTRACTS LISTED ON ANNEX 1
                            ATTACHED TO EXHIBIT A HERETO


         The above-captioned debtors and debtors in possession (collectively, the "Debtors"),

pursuant to section 365 of the Bankruptcy Code and Rule 6006 of the Federal Rules of

Bankruptcy Procedure (the "Bankruptcy Rules"), hereby move (the "Motion") for the entry of an

order in substantially the form attached hereto as Exhibit A (the "Proposed Order"):

(i) authorizing them to reject the executory contracts (collectively, the "Agreements")2 identified



1
         The Debtors are the following eleven entities (the last four digits of their respective taxpayer identification
         numbers, if any, follow in parentheses): Meier's Wine Cellars Acquisition, LLC (5557); California Cider
         Co., Inc. (0443); Girard Winery LLC (5076); Grove Acquisition, LLC (9465); Meier's Wine Cellars, Inc.
         (2300); Mildara Blass Inc. (1491); Sabotage Wine Company, LLC (8393); Thames America Trading
         Company Ltd. (0696); Vinesse, LLC (3139); Vintage Wine Estates, Inc. (CA) (2279); and Vintage Wine
         Estates, Inc. (NV) (5902). The Debtors' noticing address in these chapter 11 cases is 205 Concourse
         Boulevard, Santa Rosa, California 95403.
2
         The term "Agreements" includes any modifications, amendments, addenda or supplements thereto or
         restatements thereof, regardless of whether such modifications, amendments, addenda, supplements, or
         restatements are listed on Annex 1 to the Proposed Order. With respect to each Agreement, Annex 1 to the


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on the schedule attached as Annex 1 to the Proposed Order nunc pro tunc to the date hereof

(the "Petition Date"); and (ii) granting certain related relief. In support of this Motion, the

Debtors respectfully represent as follows:

                                           Jurisdiction and Venue

                   1.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated as of February 29, 2012. This is a core proceeding

pursuant to 28 U.S.C. § 157(b). Venue for this matter is proper in this District pursuant to

28 U.S.C. §§ 1408 and 1409.

                                             General Background

                   2.      On the Petition Date, each of the Debtors commenced a case under

chapter 11 of the Bankruptcy Code (collectively, the "Chapter 11 Cases"). The Debtors are

authorized to continue to operate their businesses and manage their properties as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                   3.      The Debtors comprise a leading vintner in the United States, producing,

bottling and selling wines and hard ciders through wholesale, direct-to-consumer and business-

to-business sales. The Debtors' current portfolio consists of more than 30 brands, including

luxury and lifestyle wines, and the Debtors own and lease approximately 1,850 acres in premium

wine-growing regions of the United States, operating 11 wineries that support nine tasting

rooms. The Debtors employ more than 400 employees in 15 states.




         Proposed Order sets forth the applicable Debtor party, counterparty (each, a "Counterparty"), address for
         the Counterparty and nature of the Agreement.


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                   4.     Concurrently with the filing of this Motion, the Debtors have also filed the

Bidding Procedures Motion,3 by which they plan to sell substantially all of their assets to one or

multiple bidders through a multi-stage sale process.

                   5.     Also concurrently with the filing of this Motion, the Debtors have filed the

DIP Financing Motion, seeking approval of post-petition financing, the proceeds of which the

Debtors will utilize to continue to operate as debtors in possession.

                   6.     A comprehensive description of the Debtors' businesses and operations,

capital structure, and the events leading to the commencement of the Chapter 11 Cases can

be found in the Declaration of Seth Kaufman, the President and Chief Executive Officer of

Debtor Vintage Wine Estates, Inc., in Support of First Day Motions of Debtors and Debtors in

Possession (the "First Day Declaration"), which was filed contemporaneously therewith and

which is incorporated by reference.

                                      Facts Relevant to This Motion

                   7.     As set forth in the Bidding Procedures Motion, the Debtors are seeking

approval of a sale process for all of their assets. Prior to the Petition Date, the Debtors engaged

in a review, which remains ongoing, of their executory contracts and unexpired leases to identify

those executory contracts and unexpired leases that (i) do not enhance the value of their estates

or assets, (ii) are burdensome to their estates and/or (iii) are highly unlikely to be assumed and

assigned to a third party on terms that would provide any net economic benefit to the Debtors.

                   8.     As a result of this review, the Debtors have determined, in the exercise of

their reasonable business judgment, that the Agreements identified on Annex 1 (i) do not




3
         Capitalized terms otherwise undefined herein shall have the meanings ascribed to them in the First Day
         Declaration (as defined below).


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enhance the value of their estates or assets, (ii) are burdensome to their estates and/or (iii) are

highly unlikely to be assumed and assigned to a third party on terms that would provide any net

economic benefit to the Debtors, and, thus, should be rejected as of the Petition Date.

                                               Argument

  I.     Rejection of the Agreements Is an Appropriate Exercise of the Debtors' Business
         Judgment and Should Be Authorized

                   9.    Section 365(a) of the Bankruptcy Code provides that a debtor, "subject to

the court's approval, may assume or reject any executory contract or unexpired lease of the

debtor." 11 U.S.C. § 365(a); L.R.S.C. Co. v. Rickel Home Ctrs., Inc. (In re Rickel Home

Ctrs., Inc.), 209 F.3d 291, 298 (3d Cir. 2000) ("Section 365 enables the trustee to maximize the

value of the debtor's estate by assuming executory contracts and unexpired leases that benefit the

estate and rejecting those that do not.").

                   10.   Courts routinely approve motions to reject executory contracts upon a

showing that the debtor's decision to take such action will benefit the debtor's estate and is an

exercise of sound business judgment. See Krebs Chrysler-Plymouth, Inc. v. Valley Motors, Inc.,

141 F.3d 490, 492 (3d Cir. 1998); In re Taylor, 913 F.2d 102, 107 (3d Cir. 1990);

In re Armstrong World Indus., Inc., 348 B.R. 136, 162 (Bankr. D. Del. 2006) ("Courts have

uniformly deferred to the business judgment of the debtor to determine whether the rejection of

an executory contract . . . by the debtor is appropriate under section 365(a) of the Bankruptcy

Code.").

                   11.   Courts generally will not second-guess a debtor's business judgment

concerning the rejection of an executory contract, unless the decision is the product of bad faith,

whim or caprice. See In re HQ Global Holdings, Inc., 290 B.R. 507, 511 (Bankr. D. Del. 2003)

(applying a business judgment standard, absent a showing of bad faith, whim or caprice);



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In re Trans World Airlines, Inc., 261 B.R. 103, 121 (Bankr. D. Del. 2001) (same); see also

Summit Land Co. v. Allen (In re Summit Land Co.), 13 B.R. 310, 315 (Bankr. D. Utah 1981)

(absent extraordinary circumstances, court approval of a debtor's decision to assume or reject an

executory contract "should be granted as a matter of course"). The standard merely requires a

showing that either assumption or rejection of the executory contract will benefit the debtor's

estate. See Sharon Steel Corp. v. Nat'l Fuel Gas Distrib. Corp. (In re Sharon Steel Corp.),

872 F.2d 36, 39-40 (3d Cir. 1989).

                   12.     Given significant efforts undertaken by the Debtors to solicit interest in

their assets prepetition (as detailed in the Bidding Procedures Motion and the supporting

declarations filed contemporaneously therewith), as well as the prepetition contract review

process the Debtors engaged in, rejection of the Agreements is a manifestly sound exercise of the

Debtors' business judgment and is in the best interests of their estates. As set forth above and in

the First Day Declaration, the Debtors are seeking to sell all of their assets. Thus, contracts that

(i) do not enhance the value of their estates or assets, (ii) are burdensome to their estates and/or

(iii) are highly unlikely to be assumed and assigned to a third party on terms that would provide

any net economic benefit to the Debtors, do not provide any benefit to the Debtors or their

creditors. Absent rejection of the Agreements, the Debtors risk accruing avoidable

administrative expenses without any accompanying benefit to their estates, to the detriment of

the Debtors' stakeholders.

                   13.     Accordingly, because rejecting the Agreements constitutes a sound

exercise of the Debtors' business judgment, the Court should grant the relief requested herein.4



4
         The Counterparties may seek to assert a rejection damage claim under section 502 of the Bankruptcy Code
         or other claims in connection with the rejection of the Agreements. Nothing in this Motion shall be deemed
         or construed to constitute (i) an admission as to the validity or priority of any claim against the Debtors,


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 II.     Rejecting the Agreements Nunc Pro Tunc to the Petition Date is Reasonable and
         Appropriate

                   14.     Bankruptcy courts are empowered to grant retroactive rejection of an

executory contract or unexpired lease under section 105(a) and 365(a) of the Bankruptcy Code

based on the equities of the circumstances. See In re Chi-Chi's, Inc., 305 B.R. 396, 399 (Bankr.

D. Del. 2004) (acknowledging that a bankruptcy court may approve a retroactive rejection of a

lease after balancing the equities in the particular case); In re Philadelphia Newspapers, LLC,

424 B.R. 178, 185 (Bankr. E.D. Pa. 2010) (authorizing retroactive rejection of executory contract

where there was "no obvious prejudice to [the counterparty] in approving rejection

retroactively"); see also Thinking Machs. Corp. v. Mellon Fin. Servs. Corp. (In re Thinking

Machines Corp.), 67 F.3d 1021, 1028 (1st Cir. 1995) (finding that, "[i]n the section 365 context,

this means that bankruptcy courts may enter retroactive orders of approval, and should do so

when the balance of equities preponderates in favor of such remediation").

                   15.     Under the present circumstances, the balance of the equities favors

rejection of the Agreements nunc pro tunc to the Petition Date. Absent such relief, the Debtors

risk being forced to incur administrative expenses under the Agreements with no accompanying

benefit.

                   16.     Accordingly, to avoid incurring additional unnecessary administrative

expenses associated with the Agreements, the Debtors respectfully request that the Court

authorize the Debtors to reject the Agreements effective nunc pro tunc to the Petition Date.

Courts in this District have approved relief similar to that requested herein. See, e.g., In re Winc,

Inc., No. 22-11238 (LSS) (Bankr. D. Del. Jan. 4, 2023) (authorizing the rejection of contracts as



         (ii) a waiver of the Debtors' rights to dispute any claim or (iii) a waiver of any claim the Debtors may have
         against a Counterparty.


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of the date of filing motion); In re MobiTV, Inc., Case No. 21-10457 (LSS) (Bankr. D. Del. May

20, 2021) (same); In re Shiloh Indus., Inc., Case No. 20-12024 (LSS) (Bankr. D. Del. Dec. 17,

2020) (same); In re Art Van Furniture, LLC, No. 20-10553 (CSS) (Bankr. D. Del. Apr. 3, 2020)

(same); In re Lucky's Market Parent Company, LLC, No. 20-10166 (JTD) (Bankr. D. Del. Mar.

12, 2020) (same); Forever 21, Inc., Case No. 19-12122 (KG) (Bankr. D. Del. Sep. 29, 2019)

(authorizing rejection of unexpired leases nunc pro tunc to the petition date upon motion filed

one day after the petition).

                              Compliance With Bankruptcy Rule 6006(f)

                   17.    Bankruptcy Rule 6006(f) establishes requirements for a motion to reject

multiple executory contracts and/or unexpired leases that are not between the same parties.

Bankruptcy Rule 6006(f) states, in part, that such a motion shall:

                   (1) state in a conspicuous place that parties receiving the omnibus motion should
                   locate their names and their contracts or leases listed in the motion;

                   (2) list parties alphabetically and identify the corresponding contract or lease;

                   (3) specify the terms, including the curing of defaults, for each requested
                   assumption or assignment;

                   (4) specify the terms, including the identity of each assignee and the adequate
                   assurance of future performance by each assignee, for each requested assignment;

                   (5) be numbered consecutively with other omnibus motions to assume, assign, or
                   reject executory contracts or unexpired leases; and

                   (6) be limited to no more than 100 executory contracts or unexpired leases.

The Debtors submit that they have satisfied the requirements of Bankruptcy Rule 6006(f).

                                         Consent to Jurisdiction

                   18.    Pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the "Local

Rules"), the Debtors consent to the entry of a final judgment or order with respect to this Motion



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if it is determined that the Court would lack Article III jurisdiction to enter such final order or

judgment absent consent of the parties.

                                                 Notice

                   19.    Notice of this Motion shall be provided to: (i) the Office of the United

States Trustee for the District of Delaware; (ii) the Debtors' 30 largest unsecured creditors on a

consolidated basis, as identified in their chapter 11 petitions; (iii) counsel to the proposed DIP

Agent and DIP Lenders; (iv) the Counterparties; and (v) any other party entitled to notice

pursuant to Bankruptcy Rule 2002. The Debtors respectfully submit that no further notice of this

Motion is required.

                   20.    No prior request for the relief sought herein has been made to this Court or

any other court.

                   WHEREFORE, the Debtors respectfully request that the Court enter the Proposed

Order in substantially the form attached here as Exhibit A: (i) granting the relief sought herein;

and (ii) granting to the Debtors such other and further relief as the Court may deem proper.


                              [Remainder of page intentionally left blank.]




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 Dated:      July 24, 2024                      Respectfully submitted,
             Wilmington, Delaware
                                                /s/ Daniel J. DeFranceschi
                                                Zachary I. Shapiro (No. 5103)
                                                Daniel J. DeFranceschi (No. 2732)
                                                Michael J. Merchant (No. 3854)
                                                Matthew P. Milana (No. 6681)
                                                RICHARDS, LAYTON & FINGER, P.A.
                                                One Rodney Square
                                                920 N. King Street
                                                Wilmington, Delaware 19801
                                                Telephone: 302.651.7700
                                                Facsimile:     302.651.7701
                                                Email:         defranceschi@rlf.com
                                                               merchant@rlf.com
                                                               shapiro@rlf.com
                                                               milana@rlf.com
                                                - and -

                                                Heather Lennox (pro hac vice pending)
                                                Carl E. Black (pro hac vice pending)
                                                JONES DAY
                                                North Point
                                                901 Lakeside Avenue
                                                Cleveland, Ohio 44114
                                                Telephone: 216.586.3939
                                                Facsimile: 216.579.0212
                                                Email: hlennox@jonesday.com
                                                       ceblack@jonesday.com

                                                Proposed Counsel for Debtors and Debtors in
                                                Possession




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                                    EXHIBIT A

                                   Proposed Order




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                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    Meier's Wine Cellars Acquisition, LLC, et                   Case No. 24-11575 (____)
    al.1
                                                                (Joint Administration Requested)
                       Debtors.

                    ORDER GRANTING OMNIBUS MOTION OF
                  THE DEBTORS AND DEBTORS IN POSSESSION
                 FOR AN ORDER (I) AUTHORIZING THE DEBTORS
          TO REJECT CERTAIN EXECUTORY CONTRACTS NUNC PRO TUNC
       TO THE PETITION DATE AND (II) GRANTING CERTAIN RELATED RELIEF

                      This matter coming before the Court on the Omnibus Motion of the Debtors and

Debtors in Possession for an Order (I) Authorizing the Debtors to Reject Certain Executory

Contracts Nunc Pro Tunc to the Petition Date and (II) Granting Certain Related Relief

(the "Motion"),2 filed by the above-captioned debtors and debtors in possession (collectively,

the "Debtors"); the Court having reviewed the Motion and having considered the statements of

counsel with respect to the Motion at a hearing (if any) before the Court (the "Hearing"); the

Court having found that (i) the Court has jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated as of February 29, 2012, (ii) this is a core proceeding



1
             The Debtors are the following eleven entities (the last four digits of their respective taxpayer identification
             numbers, if any, follow in parentheses): Meier's Wine Cellars Acquisition, LLC (5557); California Cider
             Co., Inc. (0443); Girard Winery LLC (5076); Grove Acquisition, LLC (9465); Meier's Wine Cellars, Inc.
             (2300); Mildara Blass Inc. (1491); Sabotage Wine Company, LLC (8393); Thames America Trading
             Company Ltd. (0696); Vinesse, LLC (3139); Vintage Wine Estates, Inc. (CA) (2279); and Vintage Wine
             Estates, Inc. (NV) (5902). The Debtors' noticing address in these chapter 11 cases is 205 Concourse
             Boulevard, Santa Rosa, California 95403.
2
             Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.



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pursuant to 28 U.S.C. § 157(b), (iii) venue is proper before this Court pursuant to 28 U.S.C. §§

1408 and 1409, (iv) rejection of the Agreements represents an exercise of the Debtors' sound

business judgment and (v) notice of the Motion and the Hearing was sufficient under the

circumstances; the Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein;

                   IT IS HEREBY ORDERED THAT:

                   1.   The Motion is GRANTED as set forth herein.

                   2.   The Debtors are authorized to reject the Agreements identified on Annex 1

attached hereto, effective as of the Petition Date.

                   3.   Notwithstanding any applicability of Bankruptcy Rules 6004(h), 7062 or

9014, the terms and conditions of this Order are immediately effective and enforceable upon its

entry.

                   4.   The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

                   5.   This Court shall retain jurisdiction over any and all matters arising from or

related to the implementation or interpretation of this Order.




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                                           ANNEX 1

                           Schedule of Agreements to be Rejected

                     Debtor Party to
  Counterparty                              Counterparty Address           Description
                        Contract

                                             EPFL INNOVATION
                                                   PARK
                     Vintage Wine                                        Scantrust e-Label
   Scantrust SA                                    PSE-D
                    Estates, Inc. (CA)                                        Order
                                           LAUSANNE, VAUD 1015
                                                  FRANCE

    Adams Law        Vintage Wine              1792 2ND ST             Confirmation of Fee
      Group         Estates, Inc. (CA)        NAPA, CA 94559             Arrangements

  Amador Two         Vintage Wine             PO BOX 9057                Grape Purchase
  Oaks Vineyard     Estates, Inc. (CA)     PLYMOUTH, CA 95669              Agreement

      Cameron        Vintage Wine                                       Letter of Intent to
                                             ADDRESS ON FILE
      Hughes        Estates, Inc. (CA)                                Purchase Brand Assets

                                           ATTN: CHARLIE SMITH
  Charlie Smith      Vintage Wine
                                               PO BOX 2163               Vineyard Lease
  Vineyard LLC      Estates, Inc. (CA)
                                           GLEN ELLEN, CA 95442



      Corrigan       Vintage Wine          4125 SILVERADO TRAIL          Grape Purchase
      Vineyard      Estates, Inc. (CA)      CALISTOGA, CA 94515            Agreement




      D'Anneo        Vintage Wine          1085 DUNAWEAL LANE          Wine Grape Purchase
      Vineyard      Estates, Inc. (CA)      CALISTOGA, CA 94515            Agreement


  Diamond West
                     Vintage Wine              P.O. BOX 722            Contract to Purchase
     Farming
                    Estates, Inc. (CA)    PASO ROBLES, CA 93447              Grapes
    Company
  Diamond West
                     Vintage Wine              P.O. BOX 722            Contract to Purchase
     Farming
                    Estates, Inc. (CA)    PASO ROBLES, CA 93447              Grapes
    Company



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                                             8001 BIRCHWOOD
   DL Financial
                     Vintage Wine                 COURT                    Equipment Lease
    Solutions
                    Estates, Inc. (CA)         P.O. BOX 2000                 Agreement
     Partner
                                            JOHNSTON, IA 50131


      Dunbar         Vintage Wine             P.O. BOX 1658              Wine Grape Purchase
      Vineyard      Estates, Inc. (CA)     GLEN ELLEN, CA 95442              Agreement

                                              224 E. HWY 246
 Estate Vineyards    Vintage Wine                                          Grape Purchase
                                                  UNIT A
       LLC          Estates, Inc. (CA)                                       Agreement
                                            BUELLTON, CA 93427


 Gallo Vineyards,    Vintage Wine           600 YOSEMITE BLVD              Grape Purchase
       Inc.         Estates, Inc. (CA)      MODESTO, CA 95354                Agreement

                       Swanson
      George                                                               Grape Purchase
                      Vineyards &            ADDRESS ON FILE
    Schenecker                                                               Agreement
                        Winery



                                             C/O WESTCHESTER
   Global AG
                     Vintage Wine           GROUP INV MGT INC.             Vineyard Lease
 Properties USA,
                    Estates, Inc. (CA)     2004 FOX DRIVE, STE L             Agreement
      LLC
                                           CHAMPAIGN, IL 61820




                                             C/O WESTCHESTER
   Global AG                                                               Memorandum of
                     Vintage Wine           GROUP INV MGT INC.
 Properties USA,                                                           Vineyard Lease
                    Estates, Inc. (CA)     2004 FOX DRIVE, STE L
      LLC                                                                    Agreement
                                           CHAMPAIGN, IL 61820




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                                             C/O WESTCHESTER
   Global AG                                                               Memorandum of
                     Vintage Wine           GROUP INV MGT INC.
 Properties USA,                                                           Vineyard Lease
                    Estates, Inc. (CA)     2004 FOX DRIVE, STE L
      LLC                                                                    Agreement
                                           CHAMPAIGN, IL 61820



                    Oregon Vineyard
 Grace A. Schaad                             ADDRESS ON FILE                 Farm Lease
                     Services, Inc.

                                           2100 E LAKE COOK RD,
 Hedge Trackers,     Vintage Wine                 STE 1100
                                                                             Schedule A2
     LLC            Estates, Inc. (CA)      BUFFALO GROVE, IL
                                                 60089-1999

                                              P.O. BOX 73419
                     Vintage Wine                                         Service Agreement
  ID Technology                            CLEVELAND, OH 44193-
                    Estates, Inc. (CA)                                         Proposal
                                                    0002
                                                                        Wine Grape Purchase
                     Vintage Wine             462 DEVLIN RD
   IMGOD, LLC                                                                Agreement
                    Estates, Inc. (CA)        NAPA, CA 94558
                                                                             Amendment
                     Vintage Wine                                         Letter of Intent to
    Kevin Smith                              ADDRESS ON FILE
                    Estates, Inc. (CA)                                  Purchase Brand Assets

  Key Housing        Vintage Wine             PO BOX 1267                Corporate Residence
 Connections Inc.   Estates, Inc. (CA)    ORANGEVALE, CA 95662            Lease Application

                                                                        Addendum to Preferred
  Key Housing        Vintage Wine             PO BOX 1267
                                                                        Customer Master Lease
 Connections Inc.   Estates, Inc. (CA)    ORANGEVALE, CA 95662
                                                                             Addendum

  Key Housing        Vintage Wine             PO BOX 1267
                                                                               Invoice
 Connections Inc.   Estates, Inc. (CA)    ORANGEVALE, CA 95662


                                            C/O PINA VINEYARD
     LDVF1           Vintage Wine             MANAGEMENT                   Grape Purchase
 Rutherford, LLC    Estates, Inc. (CA)          P.O. BOX 373                 Agreement
                                            OAKVILLE, CA 94562




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   Lewis H. and
                    Oregon Vineyard
    Barbara L.                               ADDRESS ON FILE                 Farm Lease
                     Services, Inc.
     Schaad
                                                                        Purchase Order #'s: 21-
                                                                           KSOVZ-18, 22-
                                             1020 PUJO STREET
                     Vintage Wine                                          KSOVZ-19, 23-
 Mach Flynt, Inc.                           LAKE CHARLES, LA
                    Estates, Inc. (CA)                                       KSOVZ-20,
                                                   70601
                                                                         24-KSOVZ-21, 25-
                                                                             KSOVZ-22
                                                                         Purchase Order #'s:
                                                                         CY22-KSNVRB-20,
                                             1020 PUJO STREET
                     Vintage Wine                                        CY23-KSNVRB-21,
 Mach Flynt, Inc.                           LAKE CHARLES, LA
                    Estates, Inc. (CA)                                   CY24-KSNVRB-22,
                                                   70601
                                                                         CY25-KSNVRB-23,
                                                                         CY26-KSNVRB-24
                                                                          Purchase Order #'s:
                                             1020 PUJO STREET              CY23-KSRCS-21
                     Vintage Wine
 Mach Flynt, Inc.                           LAKE CHARLES, LA                Revised, CY24-
                    Estates, Inc. (CA)
                                                   70601                     KSRCS-22,
                                                                           CY25-KSRCS-23

    Madrona                                 2625 SUMMIT LAKE
                     Vintage Wine                                          Grape Purchase
   Management,                                    DRIVE
                    Estates, Inc. (CA)                                       Agreement
      LLC                                   ANGWIN, CA 94508


                     Vintage Wine         1217 ST HELENA HWY 29          Wine Grape Purchase
    Milat Ranch
                    Estates, Inc. (CA)     ST. HELENA, CA 94574              Agreement

                                            1091 SAINT HELENA
   Milat Wine                                     HWY S                     Winery Lease
                     Delectus Winery
  Company, LLC                             ST. HELENA, CA 94574-             Agreement
                                                    2268
                                            1091 SAINT HELENA
                                                                          First Amendment to
   Milat Wine        Vintage Wine                 HWY S
                                                                             Winery Lease
  Company, LLC      Estates, Inc. (CA)     ST. HELENA, CA 94574-
                                                                               Agreement
                                                    2268




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                                            O'NEILL VINTNERS &
     O'Neill                                     DISTILLERS
                     Vintage Wine
  Beverages Co.                             8418 SOUTH LAC JAC             Contract S-4151
                    Estates, Inc. (CA)
      LLC                                         AVENUE
                                           PARLIER, CA 93648-9708


                                               85 BROAD ST
 Oppenheimer &       Vintage Wine
                                                  4TH FL                  Engagement Letter
    Co. Inc.        Estates, Inc. (CA)
                                            NEW YORK, NY 10004

  Parmelee - Hill    Vintage Wine               PO BOX 432                  Wine License
    Vineyards       Estates, Inc. (CA)       SONOMA, CA 95476                Agreement




                                          C/O VINTNERS 1904, INC.
                                               P.O. BOX 1749
                                          WOODBRIDGE, CA 95258

                                          C/O VINTNERS 1904, INC.
  Phil and Karen     Vintage Wine
                                               P.O. BOX 1664      Supersede Contract 101
     Peterson       Estates, Inc. (CA)
                                          WOODBRIDGE, CA 95258

                                          C/O VINTNERS 1904, INC.
                                                P.O. BOX 745
                                           PENNGROVE, CA 94951




                                           655 BUSINESS CENTER
 PNC Equipment       Vintage Wine                 DRIVE
                                                                           Equipment Lease
  Finance, LLC      Estates, Inc. (CA)           SUITE 250
                                            HORSHAM, PA 19044


                                           655 BUSINESS CENTER
 PNC Equipment       Vintage Wine                 DRIVE
                                                                           Amendment #1
  Finance, LLC      Estates, Inc. (CA)           SUITE 250
                                            HORSHAM, PA 19044


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     Renteria                                625 IMPERIAL WAY
                      Vintage Wine                                          Grape Purchase
  Oakville Estate,                                 SUITE 6
                     Estates, Inc. (CA)                                       Agreement
      LLC                                      NAPA, CA 94559

                      Vintage Wine                                         Letter of Intent to
    Scott Lavie                               ADDRESS ON FILE
                     Estates, Inc. (CA)                                  Purchase Brand Assets

                                             4525 AUBURN BLVD
  Smile Business      Vintage Wine
                                              SACRAMENTO, CA              Single Invoice Lease
   Products, Inc.    Estates, Inc. (CA)
                                                  95841-4202

                                             4525 AUBURN BLVD
  Smile Business      Vintage Wine
                                              SACRAMENTO, CA                  Supplement
   Products, Inc.    Estates, Inc. (CA)
                                                  95841-4202

                                             4525 AUBURN BLVD
  Smile Business      Vintage Wine
                                              SACRAMENTO, CA                   Agreement
   Products, Inc.    Estates, Inc. (CA)
                                                  95841-4202

                                             4525 AUBURN BLVD
  Smile Business      Vintage Wine                                        Single Invoice Rental
                                              SACRAMENTO, CA
   Products, Inc.    Estates, Inc. (CA)                                        Agreement
                                                  95841-4202

                                             4525 AUBURN BLVD
  Smile Business      Vintage Wine
                                              SACRAMENTO, CA                  Copier Lease
   Products, Inc.    Estates, Inc. (CA)
                                                  95841-4202


                                             ATTN: SHAHIR AMIN
 Sonoma Brands        Vintage Wine           117 W. NAPA STREET,          Events Management
 Partners II, LLC    Estates, Inc. (CA)              STE. C                   Agreement
                                              SONOMA, CA 95476



                                             ATTN: SHAHIR AMIN
 Sonoma Brands        Vintage Wine           117 W. NAPA STREET,              Management
 Partners II, LLC    Estates, Inc. (CA)              STE. C                   Agreement
                                              SONOMA, CA 95476

                                                P.O. BOX 68
  Stewart Cellars     Vintage Wine                                          Grape Purchase
                                              RUTHERFORD, CA
      LLC            Estates, Inc. (CA)                                       Agreement
                                                 94573-0068

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                                           3455 STATE HIGHWAY
      Sullivan       Vintage Wine                                        Wine Grape Purchase
                                                    128
      Vineyard      Estates, Inc. (CA)                                       Agreement
                                           CALISTOGA, CA 94515


                                             ATTN CHARLES J.
                                                  POSTOW
     Takoma          Vintage Wine                                          Temporary Space
                                             3867 BLACKWOOD
  Properties, LLC   Estates, Inc. (CA)                                    Addendum to Lease
                                                   COURT
                                           CINCINNATI, OH 45236


                                            625 IMPERIAL WAY
      Tambor         Vintage Wine                                           Grape Purchase
                                                   STE 6
     Vineyards      Estates, Inc. (CA)                                        Agreement
                                              NAPA, CA 94559

                                             7220 POPE VALLEY
  Temple Family      Vintage Wine                  ROAD                     Grape Purchase
    Vineyard        Estates, Inc. (CA)       POPE VALLEY, CA                  Agreement
                                                 94567-9441
                                          5800 PETRIFIED FOREST
  Tower C. Snow
                     Vintage Wine                 ROAD                   Wine Grape Purchase
   Jr. Revocable
                    Estates, Inc. (CA)     CALISTOGA, CA 94515-              Agreement
        Trust
                                                   9406


  Vintners 1904,     Vintage Wine          10815 MINNESOTA AVE             Supersedes Rose
       Inc.         Estates, Inc. (CA)     PENNGROVE, CA 94951               contract 111



                                             201 TRESSER BLVD
  W.J. Deutsch &     Vintage Wine                                          Wine Production
                                                  SUITE 500
    Sons Ltd.       Estates, Inc. (CA)                                       Agreement
                                            STAMFORD, CT 06901

                                             201 TRESSER BLVD
  W.J. Deutsch &      Vintage Wine                                        Change of Control
                                                  SUITE 500
    Sons Ltd.       Estates, Inc. (NV)                                         Letter
                                            STAMFORD, CT 06901

                                             201 TRESSER BLVD
  W.J. Deutsch &      Vintage Wine                                       Right of First Refusal
                                                  SUITE 500
    Sons Ltd.       Estates, Inc. (NV)                                           Letter
                                            STAMFORD, CT 06901



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                                             201 TRESSER BLVD
  W.J. Deutsch &     Vintage Wine                                        Exclusive Marketing
                                                  SUITE 500
    Sons Ltd.       Estates, Inc. (CA)                                   and Sales Agreement
                                            STAMFORD, CT 06901

                                                                         First Amendment to
                                                                        Amended and Restated
                                             201 TRESSER BLVD
  W.J. Deutsch &     Vintage Wine                                        Exclusive Marketing
                                                  SUITE 500
    Sons Ltd.       Estates, Inc. (CA)                                           and
                                            STAMFORD, CT 06901
                                                                            Sales Agency
                                                                              Agreement

                                             201 TRESSER BLVD
  W.J. Deutsch &     Vintage Wine                                        Exclusive Marketing
                                                  SUITE 500
    Sons Ltd.       Estates, Inc. (CA)                                   and Sales Agreement
                                            STAMFORD, CT 06901

                                             201 TRESSER BLVD           Amended and Restated
  W.J. Deutsch &     Vintage Wine
                                                  SUITE 500              Exclusive Marketing
    Sons Ltd.       Estates, Inc. (CA)
                                            STAMFORD, CT 06901           and Sales Agreement

     Wine                                                                 Invoice (May 2024,
                     Vintage Wine          584 FIRST STREET EAST
 Communications                                                           July 2024, October
                    Estates, Inc. (CA)       SONOMA, CA 95476
   Group, Inc.                                                              2024, Jan 2025)




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